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8                          UNITED STATES DISTRICT COURT

9                         EASTERN DISTRICT OF CALIFORNIA

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12    CORTINA INTEGRATED WASTE                 No. 2:24-cv-3014 WBS AC
      MANAGEMENT, INC.,
13
                    Plaintiff,
14                                             ORDER RE: MOTION TO INTERVENE
           v.                                  BY KLETSEL DEHE WINTUN NATION
15                                             OF THE CORTINA RANCHERIA
      UNITED STATES DEPARTMENT OF THE
16    INTERIOR; UNITED STATES BUREAU
      OF INDIAN AFFAIRS; BRYAN
17    NEWLAND, in his official
      capacity as Assistant Secretary
18    in the U.S. Department of the
      Interior-Indian Affairs; BRYAN
19    MERCIER, in his official
      capacity as Director of the
20    Bureau of Indian Affairs in the
      U.S. Department of the Interior;
21    AMY DUTSCHKE, in her official
      capacity as Regional Director
22    for the Bureau of Indian Affairs
      Pacific Region; and INTERIOR
23    BOARD OF INDIAN APPEALS,

24                  Defendants.

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27               Plaintiff Cortina Integrated Waste Management, Inc.

28    filed the instant action for declaratory and equitable relief
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1     alleging that the federal government defendants unlawfully

2     terminated its lease.      (Docket No. 1.)    The Kletsel Dehe Wintun

3     Nation of the Cortina Rancheria (“Tribe”) moves to intervene.

4     (Docket No. 12.)    Plaintiff and defendants do not oppose the

5     Tribe’s intervention.1     (See Docket Nos. 14-15.)

6                Under Federal Rule of Civil Procedure 24(a)(2), the

7     court must grant a timely motion to intervene as a matter of

8     right where the movant “claims an interest relating to the

9     property or transaction that is the subject of the action and is

10    so situated that disposing of the action may as a practical

11    matter impair or impede the movant’s ability to protect its

12    interest, unless existing parties adequately represent that

13    interest.”   See also Wilderness Soc’y v. U.S. Forest Serv., 630

14    F.3d 1173, 1177-78 (9th Cir. 2011) (en banc) (same).

15               The Tribe’s motion is timely since the court has not

16    heard any dispositive motions in the case.          See Hoopa Valley

17    Tribe v. U.S. Bureau of Reclamation, 648 F. Supp. 3d 1196, 1200-

18    01 (E.D. Cal. 2022) (concluding a tribe’s motion to intervene was

19    timely because it was filed “well before any substantive matters

20    had been heard or decided”).
21               Moreover, the Tribe provides evidence showing that it

22    is plaintiff’s counterparty in the lease at issue (see

23    Docket No. 12-1 at 101-05), which establishes the type of

24    interest contemplated by Rule 24(a)(2).         See Backcountry Against

25    Dumps v. U.S. Bureau of Indian Affairs, No. 20-CV-2343 JLS (DEB),

26         1    Because the motion is unopposed and the court does not
27    see that it would be assisted by oral argument, the hearing on
      March 17, 2025 is vacated and the court takes the motion under
28    submission on the moving papers. See L.R. 230(g).
                                      2
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1     2021 WL 2433942, at *3-4 (S.D. Cal. June 14, 2021).            If the Tribe

2     did not intervene, its interest in the lease may be impaired by

3     the disposition of the instant matter.        See id.

4                Finally, the Tribe asserts without contradiction its

5     concern that the current parties will not adequately protect its

6     interest in the lease because the federal government does not

7     share the Tribe’s reasons for defending the lease in question.

8     See No Casino In Plymouth v. Nat’l Indian Gaming Comm’n,

9     No. 2:18-cv-1398 TLN CKD, 2022 WL 1489498, at *10-11 (E.D. Cal.

10    May 11, 2022), aff’d on other grounds, No. 22-15756, 2023 WL

11    4646113, at *1-2 (9th Cir. July 20, 2023), cert. denied, 144 S.

12    Ct. 1347 (2024).    Accordingly, the requirements for intervention

13    under Rule 24(a)(2) are met.

14               IT IS THEREFORE ORDERED that the Tribe’s motion to

15    intervene (Docket No. 12) be, and the same hereby is, GRANTED.

16    The Tribe shall file its proposed answer (Docket No. 12-2) on the

17    court’s docket within 14 days.

18    Dated:   February 27, 2025

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